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 6                                UNITED STATES DISTRICT COURT

 7                                      DISTRICT OF NEVADA

 8                                                  ***

 9 UNITED STATES OF AMERICA,           )
                                       )
10             Plaintiff,              )
                                       )                  2:07-cr-0014 JCM (RJJ)
11 vs                                  )
                                       )
12 LUIS ANGEL  GONZALEZ-LARGO,         )
                                       )
13             Defendant,.             )                         ORDER
   ____________________________________)
14
15         Presently before the court is petitioner Luis Angel Gonzalez-Largo’s motion requesting a

16 copy of the arrest warrant used to effectuate petitioner’s arrest. (Doc. #361). The government has
17 filed a response, attaching as Exhibit 1, a copy of the arrest warrant petitioner seeks. (Doc. #364).
18         In light of the government’s response,

19         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that petitioner’s motion for

20 copy of arrest warrant (doc. #361) be, and the same hereby is, DENIED as moot.
21         DATED June 18, 2012.

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23                                                        UNITED STATES DISTRICT JUDGE

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